IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

SS RICHMOND LLC, et ai.,
Plaintiffs,

v. Civil No. 3:22cv405 (DJN)
CHRISTOPHER A. HARRISON, et al.,

Defendants.

ORDER
(Adopting Report and Recommendation)

This matter comes before the Court on Defendants’ Objections to the Report and
Recommendation (the “R&R”) of the Magistrate Judge “Objections” (ECF No. 157)), objecting
to the R&R (ECF No. 156) entered on August 23, 2023, by the Honorable Mark R. Colombell,
United States Magistrate Judge, which recommended that Plaintiffs’ Motion to Enforce the
Settlement Agreement (“Motion to Enforce” (ECF No. 133)) be granted and that judgment be
entered against Defendants and in favor of Plaintiffs in the principal amount of Six Million
Dollars ($6,000,000.00) (“Purchase Price”), plus post-judgment interest at the applicable federal
rate under 28 U.S.C. § 1961, from the date of entry until paid. In addition, the R&R
recommended that the judgment order reflect that Plaintiffs shall retain ownership of their
“Membership Interests,” as that term is defined in the Settlement Agreement, until Defendants
satisfy the judgment. Upon satisfaction of the judgment, Plaintiffs shall immediately transfer
their Membership Interests to Defendants in accordance with Section 2(a) of the Settlement
Agreement.

Defendants object to the R&R on the grounds that: (1) final judgment potentially divests
the Court of jurisdiction to enforce the Settlement Agreement; (2) the issues of prejudgment

interest and attorneys’ fees are unresolved; and (3) the Court does not have authority to enforce

the Settlement Agreement through a motion. (ECF No. 157.) On September 7, 2023, Plaintiffs

responded to Defendants’ Objections. (ECF No. 161.) Defendants did not reply to Plaintiffs’

Response, and the time to do so has expired, rendering this matter ripe for review.

Having reviewed the R&R and the objections thereto, and finding that the objections lack

merit, the Court hereby ORDERS that:

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Defendants’ Objections (ECF No. 157) to the R&R are hereby DENIED;

The Report and Recommendation (ECF No. 156) is hereby ACCEPTED and
ADOPTED as the OPINION of the Court;

Plaintiffs’ Motion to Enforce (ECF No. 133) is hereby GRANTED;

Judgment be entered against Defendants and in favor of Plaintiffs in the amount of
the Purchase Price ($6,000,000.00), plus post-judgment interest at the applicable
federal rate under 28 U.S.C. § 1961, from the date of entry until paid;

Plaintiffs shall retain ownership of their “Membership Interests,” as that term is
defined in the Settlement Agreement, until Defendants satisfy the judgment;

Upon satisfaction of the judgment, Plaintiffs shall immediately transfer their
Membership Interests to Defendants in accordance with Section 2(a) of the
Settlement Agreement; and

Plaintiffs shall file pleadings on the issues of Plaintiffs’ entitlement to pre-judgment
interest and attorneys’ fees. Plaintiffs shall have fourteen (14) days from entry of this
Order to file, with any responses due no later than fourteen (14) days later and replies
six (6) days thereafter.

Let the Clerk file this Order electronically and notify all counsel of record accordingly.

It is so ORDERED.

/s/ |
David J. Novak VV |]
United States District Judge

Richmond, Virginia
Dated: September 18, 2023

